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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

                       Case No.: 1:21-cr-00026-CRC

UNITED STATES OF AMERICA,


v.

CHRISTOPHER MICHAEL ALBERTS

     Defendant.
__________________________/

MOTION FOR MODIFICATION OF CONDITIONS OF RELEASE

     COMES NOW, Christopher Alberts, by and through undersigned

counsel, respectfully requests this Honorable Court to modify the

conditions of release by vacating the requirement of “Stand Alone

Monitoring” (GPS ankle bracelet) as required in the Order Setting

Conditions of Release issued January 7, 2021, by Mag. J. Harvey. As

grounds for this motion, counsel states as follows:

     1. Mr. Alberts is charged with a variety of federal violations as a

result of his conduct occurring on January 6, 2021, on or about the

United States Capitol grounds.

     2. The Bail Reform Act, 18 U.S.C. §3142(c)(1)(B) provides for release
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of a person on conditions subject to the:

           least restrictive further condition, or combination
           of conditions, that such judicial officer determines
           will reasonably assure the appearance of the
           person as required and the safety of any other
           person and the community, which may (emphasis
           provided) include the condition that the person—

  3. Mr. Alberts’ placement on “Stand Alone Monitoring” is not the

“least restrictive” condition of release and the focus of this motion.

Notably, Mr. Alberts is in full compliance with all terms and conditions

set forth in the Order Setting Conditions of Release; has appeared

before the Court when required; formally served in the United States

Armed Forces; he has not prior offenses; and there is no reason to

believe that Mr. Albert’s will not appear in Court when required.

  4. Mr. Albert’s does not pose any danger to the community, and

notably, his supervising Pre-Trial Services Officer in Maryland (USPO

Stagg) ha s recommended tha t the requirement of Sta nd Alone

Monitoring” be va ca ted.

  5. Since the Court released Mr. Alberts on January 7, 2021, he

continues to live in his home community of Pylesville, Maryland

whereby he possesses an excellent reputation in his community, for




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being a good family man, devoted to his faith, hardworking, and for

being a contributing member of his community. Prior to January 6,

2021, Mr. Alberts was a firefighter/EMT in Virginia and in New Jersey;

and has since January 6, 2021, he has been employed full-time as a tow-

truck driver which includes emergency roadside assistance as an

emergency responder to "stranded" motorists and/or crash sites. Mr.

Richard Calder, the manager of Chris’ Towing & Transport submits a

letter to the Court confirming that Mr. Alberts has been employed full-

time since March 2021(sic) and the he “polite, courteous, and respectful

to everyone . . . He is a great employee and a joy to work with.”

  6. Mr. Alberts also relates that the GPS ankle monitor is not only

uncomfortable, but it can "gets-in-the-way" of the performance of his job

duties    as   a   tow-truck   operator   thereby    impacting    his    work.

Furthermore, the GPS unit has emitted electrical shocks on a few

occasions, and has once shorted-out.

  7. Counsel respectfully submits that after almost 13 months of full

compliance, the Court should be confident that Mr. Alberts will

continue to abide by all terms and conditions of the Court’s Release

Order subsequent to the vacating of the GPS Requirement. Therefore,
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“Stand Alone Monitoring” is not necessary to “reasonably assure the

appearance of the person as required and the safety of any other person

and the community,” and reverently asks the Court for its removal.

  8. The government opposes this motion, per Assistant United States

Attorney Brandon K. Regan.


     WHEREFORE, for the reasons provided and those others which

the Court may appear just and proper, undersigned respectfully

requests that this motion to modify conditions of release be granted,

and to vacate the requirement of “Stand Alone Monitoring” (GPS ankle

bracelet); and any further relief the Court deems just and proper under

the circumstances.

     Respectfully Submitted,

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           ~Psalm 23



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                    CERTIFICATE OF SERVICE

    I hereby certify that on this 10th day of February, 2022, a copy of

the foregoing was efiled, served, and/or delivered to counsel of record or

case registered parties by the CM/ECF court system.


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